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COMPOSITE EXHIBIT “A”
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      CIVIL COURT OF THE CITY OF NEW YORK
      BRONX COUNTY
                                                                            (.5134
       CAIRO CRISOSTOMO,
                                                                   Index No:
                                          Plaintiff,
                                                                   SUMMONS
                                   V.
                                                                   Plaintiff's ResidenceAddress:
                                                                   831 Gerard Ave
       ENHANCED RECOVERY COMPANY, LLC,                             Apartment 6D
                                                                   Bronx, New York I0451                     ~
                                                                                                    E& `F7,~ ~
                                          Defendant.
                                                                   The basis.of venue de_signate'~s~p
                                                                 ~ C:C.A. ;§.:301:(a)                               ~
                                                                                              ~
                                                                                                                    ~~
     To the Person(s) Named as Defendant(s) Above:                                           `-~i lviL
                                                                                           3R /~~y p
                                                                                               0 c
     YOU ARE HEREBY SUMMONED and required to appear in ~tfie Civil.Court of the:.City of NevrYY~o\rk; OuAiry             ~1.
     at the offce of the Clerk of the said Court at 851 Grand Concourse, Bronx, in the County of Bronx,
     State of New York, by serving an answer to the annexed complaint upon plaintitfs attorney, at the                     i
     address stated below, or if there is no attonney, upon the plaintiff, at the address stated above, within the         f
     time provided by law as noted below; upon your failure to answer, judgment will be taken against you                  ~
     for the relief demanded in the complaint, together with the costs of this action.

       Dated: March 11, 2022                                                                                               ;
                                                                   D t             ay, Esq re
      Defendant's Address:                                                   ; :R1U0 &     Ez;. PLLC
      Enhanced Rec~ ~y,      LLC                                   445 Broedhol        oad ~ Suite CL18                    ;
       o C RPORATION SERVICE COMPANY                               Melville, NewYork 11747                                 s
      80 State Street                                              Tel: (631) 210-7272                                     ;
      Albany, New York 12207                                       Our File No.: BRL21631
                                                                   A[torneysfor Plainliff


     NOTE: The law or rules of court provide that:
    (a) if this summons is served by its delivery to you, or (for a corporation) an agent authorized to receive
    service, personally within the County of Bronx you must answer within 20 days after such service; or
___(b if this summonswi-s se~ved otherwise than as_designatedsn.subdivision_(a)-above, vau.areallowEd30- -----
    days to answer after the proof of service is filed with the Clerk of this Court. (c) You are required to
    file a copy of your answer together with proof of service with the cl erk of the district in which the action
    is brought within 10 days of the service of the answer.
                                                                                    RECEIVED
                                                                                         APR 0 4 2022

                                                                                         CIVIL COURT
                                                                                        BRONX COUNTY
                                                                      ~ co PY
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              C1VIL COURT OF THE CITY OF NEW YORK
              COUNTY.OF BRONX

                CAIRO CRISOSTOMO,
                                                                                Index No:
                                                        Plaintiff,
                                                                                VERIFIED COMPLAINT
                                               V.

                ENHANCED RECOVERY COMPANY, LLC,

                                                        Defendant.


                     Plaintiff Cairo Crisostomo, by and through the undersigned counsel, complains, states, and

              alleges againsi defendant Enhanced Recovery Company, LLC as follows:

                                                 PRELIiMINARY STATEMENT

                     1.       This is an action to recover damages for negligence and for violations of New York

              General Business Law § 349 and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, el seg.

                                                 JURISDICTION AND VENUE:

                     2.       This Court has jurisdiction over defendant Enhanced Recovery Company, LLC

              because it regularly transacts business within this County, derives substantial revenue from

              services rendered in this County, has committed tortious acts with9n this County and has caused

              injury to persons within this County as described herein.

                     3.       Venue is proper pursuant to CCA § 301(a) because Plaintiff resides in this Disuict.

                                                              rARTIES

                     4.       Plaintiff Cairo Crisostomo (`°Plaintif!") is a natural person who is a citi7en of the

              State of New York residing in Bronx County, New York.

                     5.       Plaintiff is a consumer protected by New York General Business Law § 349.

                     6.       Defendant Enhanced Recovery Company, LLC ("Defendant") is a company
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              existing under the laws of the 3tate of Florida, with its principal place of business in Jacksonville,

              Florida.

                        7.    Defendant regularly collects or attempts to collect debts asserted to be owed to

              others.

                        8.    Defendant regularly collects or attempts to collect debts asserted to be owed to

              others by residents in this County.                                                        .

                        9.    Defendant regularly collects or attempts to collect debts asserted to be owed to

              others by New Yorkers.

                        10.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed

              by consumers.

                        11.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed

              by consumers in this County.

                        12.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed

              by New York consumers.

                        13.   The principal purpose of Defendant's business is the collection of such debts.

                        14.   The principal purpose of Defendant's business in this County is the collection of

              such debts.

                        15.   The principal purpose of Defendant's business in New York is the collection of such

              debts.

                        16.   Defendant uses instrumentalities of interstate commerce, including telephones and

              the mails, in furtherance of its debt collection business.

                        17.   Defendant uses instrumentalities of interstate conunerce, including telephones and

              the mails, in furtherance of its debt collection business in this County.



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                  18.     Defendant uses insttumentalities of interstate commerce, including telephones and

           the mails, in furtherance of its debt collection business in New York.

                  19.     Defendant derives substantial revenue from its debt collection services rendered in

           New York.

                  20.     Defendant has committed tortious acts within New York that have caused injury to

           consumers in this County.

                  21.     Defendant has committed tortious acts within New York that have caused injury to

           New Yorkers

                  22.     Defendant is a"debt collection agency" as that term is defined by New York

           General Husiness Law,

                           FACTUALAi.LEGATiONS RELEVANTTO,A[:I.CLAiMS

                  23.     Defendant alleges Plaintifl'owes a debt.

                  24.     The alleged debt is an alleged obligation of Plaintiff to pay money arising out of a

           transaction in which the money, property, insurance, or services which are the subject of the

           transaction are primarily for personal, family, or household purposes.

                  25.     The alleged debt does not arise from any business enterprise of Plaintiff.

                  26.     At an exact time known only to Defendant, the alleged debt was assigned or

           otherwise tn3nsferred to Defendant for collection.

                  27.     At the time the alleged debt was assigned or otherwise transferred to Defendant for

           collection, the alleged debt was in default.

                  28.     ln its efforts to collect the alieged debt, Defendant deoided to contact Plaintiff by

           written correspondence.




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                    29.     Rather than pn:paring and mailing such written correspondence to Plaintiff on its

            own, Defendant decided to utilize a third-party to perfonn such activities on its behalf.

                    30.     As part of its utilization of the third-party, Defendant conveyed information

            regarding the alleged debt to the third-party by electronic means.

                    31.     The information conveyed by Defendant to the third-party, which was viewed by

            employees of the third-party, included Plaintiffs status as a debtor, the precise amount of the

            alleged debt, the account number, the entity to which Plaintiff allegedly owed the alleged debt,

            among other things.

                    32.     The third-party then populated some or all this information into a prewritten

            template, printed, and mailed the correspondence to Plaintiff at Defendant's direction.

                    33.     That letter, dated January 4, 2022, was received aad read by Plaintiff (the "Letter").

                    34.     The Letter states in the relevant part, "Upon completion of the settlement

            agreement, the account will be closed for less than the full balance and ERC will cease all

            eollection activities on the account."

                     35.     The foregoing only infonms the Plaintiff what ERC will do with the account if

            Plaintiff pays the diseounted amount.

                     36.     The Letter is completely devoid of any infonnation that infon:ns the Plaintiff what

             T-Mobile USA, lnc. will do with the account if Plaintiff pays the discounted amount.

                     37.     Defendant failed to inform Plaintiff what, if anything, T-Mobile USA, Inc. will do

             with the account, if Plaintiff pays the discounted amount.

                     38.     Defendant's failure to inform Plaintiff what, if anything, T-Mobile USA, Inc. will

             do with the account if Plaintiff pays the discounted amount was misleading and/or deceptive.

                     39.     Plaintiffwas left wondering what T-Mobile USA, Inc. would do with the account



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             if Plaintiff paid the discounted amount.

                     40.     The Letter is completely devoid of the fact that if Plaintiff pays the discounted

            amount Plaintiff could be subjected to tax consequences.

                     41.     The Letter contained a discounted offer with the intention of enticing Plaintiff into

             paying the alleged debt without warning Plaintiff of the potential tax consequences of accepting

            such offer.

                     42.     If Plaintiff accepted the discounted offer such amount may not be the total amount

             that Plaintiff would have had to pay for the alleged debt.

                     43.     If Plaintiff accepted the discounted offer Plaintiff could have been subjected to tax

             consequences, thereby putting Plaintiff in a worse financial situation.

                     44.     The acts of Defendant as described in this Complaint were performed by Defendant

             or on Defendant's behalf by its owners, officers, agents, and/or employees acting within the scope

             of their actual or apparent authority. As such, all references to "Defendant" in this Complaint shall

             mean Defendant or its owners, officers, agents, and/or employees.

                     45.      Defendant's conduct as described in this Complaint was willful, with the purpose

             to either hatm Plaintiff or with reckless disregard for the harm to Plaintiff that could result from

             Defendant's conduct.

                     46.      Plaintiff justifiably fears that, absent this Court's intervention, Defendant will

             continue to use abusive, deceptive, unfair, and unlawful means in its attempts to collect the alleged

             Debt and other alleged debts.

                     47.      Plaintiff justifiably fears that, absent this Court's intervention, Defendant will

             ultimately cause Plaintiff unwerranted economic harm.




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                     48.     Plaintiff justifiably fears that, absent this Court's intervention, Defendant will

             ultimately cause Plaintiff unwarranted harm to Plaintiffs credit rating.

                     49.     Plaintiff justifiably fears that, absent this Courl's intervention, Defendant will

             ultimately cause Plaintiff to be sued.

                     50.     A favorable decision herein would serve to deter Defendant from further similar

             conduct.

                                               - RIRST CAUSE OFACTION -
                                                      NEGLIGENCE -
                     51.     Plaintiffrepeats and realleges the foregoing paragraphs as if fully restated herein.

                     52.     Defendant was in possession of Plaintiff s personal and private infonnation,

             including personal identifying data such as Plaintiffs name, address, date of birth, and social

             security number, and also the amount of the alleged debt, and the name of the entity to which

             Plaintiff allegedly owed money.

                     53.     Plaintiff did not consent to Defendant's sharing of Plaintiff's personal and private

             information with the third party.

                     54.     Plaintiff did not consent to Defendant's sharing of Plaintiffs personal and private

             information with anyone.

                     55.     Defendant owed a duty to Plaintiffto perform its attempted collection ofPlaintiffls

             alleged debt with reasonable care.

                     56.     Defendant owed a duty to Plaintiff to exercise reasonable eare in its handling of

             Plaintiffs personal and private information.

                     57.     Defendant owed a duty to Plaintiff to exercise reasonable care in its maintenance

             of Plaintiffs personal and private information.




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                     58.      Defendant owed a duty to Plaintiff to exercise reasonable care in keeping Plaintiff s

             personal information private.

                     59.     Defendant owed a duty to Plaintiffto not disclose Plaintiff's personal and private

             information to third parties.

                     60.      Defendant owed a duty to Plaintiff to not put at risk the privacy of Plaintiff s

             personal and private information.

                     61.      Defendant owed a duty to Piaintiffto not expose Plaintiffto the risk of identity theft

             through the diselosure of Plaintiff s personal and private information.

                     62.      Defendant breached these duties by sharing PlaintifPs personal and private

             information with third parties.

                     63.      Defendant breached these duties by sharing Plaintiffs personal and private

             infotmation with third parties without Plaintiff's permission.

                     64.      Defendant breached these duties by sharing Plaintiff's personal and private

             information with third parties without ensuring the seourity of such personal information.

                     65.      Defendant breached these duties by sharing PlaintifPs personal and private

             infotination with third parties without ensuring that such third parties had procedures and/or

             policies in place to secure Plaintiffs personal and private infonnation.

                      66.     Plaintiff was darnaged by Defendant's breach of its duties to PlaintifP in that

             Defendant exposed Plaintiffto possible identity theft.

                      67.     Plaintiff was damaged by Defendant's breach of its duties to Plaintiff in that

             Plaintiff had a reesonable expectation that Plaintitl's personal and private information would not

             be disclosed without Plaintiffs permission.




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                    68.     Plaintiff was damaged by Defendant's breach of its duties to Plaintiff in that

            Plaintiffhad a right to control the dissemination of Plaintiffs personal and private inforntation.

                    69.     Plaintiff was damaged by Defendant's breach of its duties to Piaintiff in that

            Plaintiff's personal and private information may now be in the public realm.

                    70.     As a direct and proximate result of Defendant's negligence, Plaintiff suffered

            compensable harm and is entitled to recover actual, treble, exemplary, and punitive damages.

                                     - SECOND CAUSE OF ACTION -
                          VIOLATION OF NEW YORK GENEItAL BUSINESS I:AW & 349.
                    71.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.

                    72.     New York General Business Law § 349 prohibits "deceptive acts or practices in the

            conduct of any business, trade, or commerce, or in the furnishing of any service in this state..."

                    73.     An individual "injured by reason of any violation of this section may bring an action

            in his own name to enjoin sueh unlawful act or practice, an action to recover his actual damages

            or fifty dollars, whichever is greater, or both such actions:" N.Y. Gen. Bus. Law § 349(h). An

            individual may also be awarded punitive damages.

                    74.     Defendant's debt collection business in New York is a"business, trade or commerce

            or the furnishing of a service" as contemplated by New York General Business Law § 349.

                    75.     As described herein, Defendant violated New York General Business Law § 349 by

            using deceptive acts and practices. This includes a pattem and practice of unauthorized disclosures

            to third pardes of the personal and private information of New York consumers with reckless

            disregard for the propriety and privacy of the information which it discloses, reckless disregard to

            the harm to consumers that results firom the unauthorized disclosure of such private and sensitive

            information, and reckless disregard for consumers' rights to privacy.

                    76.     Defendant has engaged in the same conduct described herein thousands of times.



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                       77.    Defendant engages in this practice because it is pro6table and because it would be     f

            more costly for Defendant to create a system to ensure the security of consumers' private and            `

            personal information. Defendant engages in this practice for the sole purpose of maximizing its

            profits.

                       78.    Defendant's eonduct as described herein was consurner-oriented in that it was

            directed to, and targeted at, New York consumers. Defendant's conduct has a broader impact on

            consumers at large as Defendant has acted similarly to thousands of other New York consumers.

                       79.    As a direct and proximate result of Defendant's violations of New York General

            Business Law § 349, Plaintiff suffered compensable harm and is entitled to preliminary and

             permanent injunctive relief, and to recover actual, treble, exemplary, and punitive damages,

            together with costs and attomey's fees.
                                             - THIRD CAUSE OF ACTION =:
                         V10LATIONS OF THE FA1R DEBT'COLLECTION PRACTICES'ACT
                       80.  Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.

                       81.    Congress enacted the FDCPA upon finding that debt collection abuse by debt

             collectors was a widespread and serious national problem See S. Rep. No. 95-382, at 2(1977)

             reprinled in U.S.C.C.A.N.1695, 1696;15 U.S.0 § 1692(a).

                       82.    The purpose of the FDCPA is to protect consumers from deceptive or herassing

             actions taken by debt coliectors, with the aim of limiting the suffering and anguish often inflicted

             by debt collectors. Kropelnickt v. Siegel, 290 F.3d 118, 127 (2d Cir. 2002).

                       83.    To further these ends, "the FDCPA enlists the efforts of sophisticated consumers ...

             as `private attorneys generai' to aid their less sophisticated counterparts, who are unlikely

             themselves to bring suit undec the Act, but who are assumed by the Act to benefit from the deterrent

             effect of civil actions brought by others." Jacobson v. Healthcare Ffn. Servs., Ine., 516 F.3d 85,



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            91 (2d Cir. 2008).

                    84.     The FDCPA is a strict liability statute, and a debt collector's intent may only be

            considered as an affiimative defense. Ellis ►: Solwnon & Solomon, P.C., 591 F.3d 130, 135 (2d

            Cir. 2010). A single v4olation of the FDCPA is sufficient to establish civil liability against a debt

            collector. Bentley v. Great Lakes Collection Bureait, 6 F.3d 60, 62 (2d Cir. 1993).

                    85.     Plaintiff is a"consumer" as that term defined by the FDCPA.

                    86.     Defendant is a"debt collector" as that term is defined by the FDCPA.

                    87.     The alleged debt is a"debt" as that term is defined by the FDCPA.

                    88.     The Letter is a"communication" as that term is deSned by the FDCPA.

                    89.                                            s
                            Defendant's conveyance of Plaintiff personal and private information to the third

            party is a"communication" as that term is deHned by the FDCPA.

                    90.     The actions described herein constitute an attempt to collect a debt or were taken

            in connection with an attempt to collect a debt within the meaning of the FDCPA.

                    91.     Defendant violated the following sections of the FDCPA: 1692c and 1692f. l3y way

            of example and not limitation Defendant violated the FDCPA by taking the following actionsin an

            attempt to collect a debt or in connection with an attempt to coqect a debt: Conununicating with

            third part9es about Plaintiff and the alleged debt without Plaintiff's consent, disclosing Plaintiff s

                                                                   s
            personal and private infotmation without Plaintiff consent, disclosing PlaintifFs personal and

            private information with reckless disregard for the harm to Plaintiff that could result from

            Defendant's unauthorized disclosure of such infonnation, and disclosing Plaintiff s personaland

            private information for Defendant's financial gain.

                                            - FOURTH CAUSE OF AG"rION-
                                                   NEGLIGENCE

                    92.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.


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                      93.     Defendant owed a duty to Plaintiff to exercise reasonable care in their attempts to

            collect money from Plaintiff.

                      94.      Defendant owed a duty to Plaintitl' to exercise reasonable care in making

            representations to Plaintiff conceming the alleged debt

                      95.      Defendant owed a duty t,o Plaintiff to exercise reasonable care in making

               representations of fact to Plaintiff conceming the alleged debt.

                      96.      Defendant breached these duties by attempting to collect money from Plaintiff by

               failing to inform Plaintiff what, if anything, would happen to the alleged debt if Plaintiff accepted

               Defendant's discounted offer.

                      97.      Defendant breached these duties by attempting to collect money from Plaintiff by

               failing to inform Plaintiff that Plaintiff could suffer tax consequences by accepting Defendant's

               discounted offer.

                       98.     As a direct and proximate result of Defendant's negligence, Plaintiff suffered

               compensable harm and is entitled to recover actual, treble, exemplary, and punitive damages.

           _                               FIFTH.CAUSE OF ACTION -;
                              yIOLATION OF NEW YORK GENERALBUSINESS-LAW 4.349

                       99.     Plaintiffrepeats and realleges the foregoing paragraphs as if fully restated herein.

                       100. New York General Business Law § 349 prohibits "deceptive acts or practices in the

               conduct of any business, trade, or commerce, or in the fumishing of any service in this state..."

                       101.    An individual "injured by reason of any violation of this section may bring an action

               in his own name to enjoin such unlawful act or practice, an action to recover his actual damages

               or fifty dollars, whichever is greater, or both such actions." N.Y. Gen. Bus. Law § 349(h). An

               individual may also be awarded punitive damages.

                       102.    Defendant's debt collection business in New York is a"business, trade or commerce
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             or the fumishing of a service" as contemplated by New York General Business Law § 349.

                     103. As described herein, Defendant violated New York General Business Law § 349 by

             using decepdve acts and practices. This includes a pattem and practice of attempting to collect

             money from New York consumers by providing New York consumers discounted payment offers

             without informing them what will happen to the account after such offer is accepting, and

             providing New York consumers discounted payment offers without informing them of the tax

             consequences of accepting such offer.

                        104. Defendant has engaged in the same conduct described herein thousands of times.

                        105. Defendant engages in this practice because it is profitable and because it would be

             more costly for Defendant to create a system to ensure that it is providing acwurate information to

             New York consumers. Defendant engages in this practice for the sole purpose of maximizing their

             profits.

                        106. Defendant's conduct as described herein was consumeroriented in that it was

             directed to, and targeted at, New York consumers. Defendant's conduct has a broader impact on

             consumers at large as Defendant has acted similarly to thousands of other New York consumers.

                        107. As a direct and proximate result of Defendant's violations of New York General

              Business Law § 349, Plaintiff suffered compensable harm and is entitled to preliminary and

              permanent injunctive relief, and to recover actual, treble, exeraplary, and punitive damages,

              together with costs and attorney's fees.




                        108. Plaintiff repeats and realleges the foregoing paragraphs as if fally restated herein.

                        109. Congress enacted the FDCPA upon 6nding that debt collection abuse by debt

              colleotars was a widespread and serious national problem. See S. Rep. No. 95-382, at 2(1977)


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            reprinted ln U.S.C.C.A.N. 1695, 1696;15 U.S.0 § 1692(a).

                     110. The putpose of the FDCPA is to protect consumers from deceptive or harassing

            actions taken by debt collectors, with the aim of limiting the suffering and anguish often inflicted

            by debt collectors. Krapelnfcla v. Siegel, 290 F.3d 118,127 (2d Cir. 2002).

                     111. To further these ends, "the FDCPA enlists the efforts of sophisticated consumers ...

            as `private attorneys general' to aid their less sophisticated counterparts, who are unlikely

            themselves to bring suit under the Act, but who are assumed by the Act to benefit from the deterrent

            effect of civil actions brought by others:' Jacobson v. Healthcare Fin. Servs_, Inc., 516 F.3d 85,

             91(2d Cir. 2008).

                     112. The FDCPA is a strict liability statute, and a debt collector's intent may only be

             considered as an affirmative defense. Ellis v. Solomon & Solomon, P.C., 591 F,3d 130, 135 (2d

             Cir. 2010). A single violation of the FDCPA is sufRcient to establish civil liability against a debt

             collector. Benlley v. Grea! Lakes Collectfon Bureau, 6 F.3d 60, 62 (2d Cir. 1993).

                     113. Plaintiff is a"consumer" as that term deSned by the FDCPA.

                     114. Defendant is "debt collector" as that term is defined by the FDCPA.

                     115. The alleged debt is a"debt" as that tenn is defined by the FDCPA.

                     116. The Letter is a"communication" as that tenn is defined by the FDCPA.

                     117. The actions described herein constitute an attempt to collect a debt or were taken

             in connection with an attempt to collect a debt within the meaning of the FDCPA.

                     118. Defendant violated the foflowing sections of the FDCPA:1692e and 1692E By way

             of example and not limitation Defendant violated the FDCPA by taking the following actions in

             an attempt to collect a debt or in connection with an attempt to collect a debt: Using false, deceptf ve

             or misleading representations or means; using any false, deceptive or misleading representations



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                                                                              failing to provide accurate and clear
            or means; using unfair or unconscionable means; and

             information in the coUection letter.
                                                         JURY DEMANID.

                     119.     Plaintiff hereby demands a trial of this action by jury.
                                            : PRAYER FOR RELIEF
                                                                            ing relief
                      WHEREFORE, Plaintiff respectfully requests the follow
                                                                                               violations of
                              a. A deternunadon that Defendant has committed the
                                  law alleged in this action;
                                                                                                 to the
                              b. Actual, treble, exemplary and punitive damages up
                                  jurisdictional limits   of this Court   ;
                                                                                                       York
                              c. Statutory damages pursuant to 15 U.S.C. § 1692k and New
                                  General;Business _Law;~;'349;
                                                                                                  15 U.S.C.
                              d. The costis:of:this.action.arid sttorneys' fees pursuant to
                                   § 1692k;and.N      ew York Gener   al `Busin ess;La  w §- 349;
                              e. Pre-judgment>aiid paskjudgine"nt inres      teeast .allowed_by law;
                               f. Suchother       . fiicther:ielie
                                           .. .. ;and              fthdt,t he;Co urt deternunes is just and
                                   PmP~'i.
                                                                                          "
              DATED: March 9, 2022

                                                                 BadssitAv, Rtzzo8c iopez,~ PL
                                                                 445 Broadhollow Road J '5uit CL1 B.
                                                                 Melville, New York 11747
                                                                 Tel; (631) 210-7272
                                                                 Fax: (516) 706-5055
                                                                 Our File No.:
                                                                 A(lorneysfor Plainliff

                                                          VERIFICATION-
                                                                   says:
              Cairo Crfsostomo, being duly sworn, deposes and
                                                                      the foregoing complaint and know the
              I am the plaintiff in this action against . I have read
                                                                      n stated to be alleged on information and
              contents thereof to be true except as to matters therei           o«Isi~~~.epr
                                                                                             i
              belief and as to those matter;, I believe them to be true.                     ~.
                                                                                 -   ' 11i7111t.iS:1~t1C.1G

                                                                                      Calro Crisostomo




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